Case: 3:15-cr-00054-wmc Document #: 60 Filed: 06/15/15 Page 1 of 7

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WISCONSIN

 

UNITED STATES OF AMERICA,
Plaintiff,

RELEASE ORDER

15-cr-54-wmc-2
AMADOU CAMARA,

Defendant.

 

Defendant Amadou Camara seeks pretrial release in this criminal prosecution in which he
has been charged with drug trafficking crimes under 21 U.S.C. §§ 841 and 846. All of Camara’s
codefendants have been released on conditions pursuant to the Bail Reform Act, 18 U.S.C. § 3142
et seq. Camara is in a unique situation because he is a foreign national who is being detained on a
warrant issued by U.S.I.C.E. (ICE). If this court were to release Camara on conditions, then he
would remain in custody on the ICE detainer, with the possibility that ICE would move him to
another location and perhaps even undertake to deport him while Camara’s criminal case in this
court was pending. Camara, by counsel, proffers that if this court releases him on conditions in this
case, then ICE likely would follow suit, but ICE is unlikely to release Camara first. But this court
is not going to release Camara until ICE lifts its detainer on him, so we have a standoff with Camara
stuck in the middle, behind bars.

In an attempt to resolve this dilemma, this court is entering this conditional release order:
it is ordering that Camara shall be released on conditions from this court’s custody as soon as but
only after ICE lifts its detainer. This is not an indication from this court to ICE as to what ICE
ought to do. It is this court’s recognition that Camara’s situation is sufficiently similar to that of his
codefendants that the court is willing to release Camara on the same set of conditions it has imposed

on the codefendants in releasing them.
Case: 3:15-cr-00054-wmc Document #: 60 Filed: 06/15/15 Page 2 of 7

ORDER

It is ORDERED that IF AND ONLY IF ICE removes its detainer on defendant Amadou
Camara, THEN AND ONLY THEN, Camara shall be RELEASED during the pendency of this case
upon Camara’s promise to obey the following conditions of release:

Standard Conditions for All Released Defendants

1. Defendant shall not commit any offense in violation of federal, state or local law
while on release.

2. Defendant shall appear at all proceedings as required and shall surrender at the
time and place directed by further court order for service of any sentence
subsequently imposed in this case.

3. Defendant shall report immediately to the U.S. Marshal’s Office for processing
and then to the Pretrial Services Office for a post-hearing interview.

4. Defendant shall cooperate in the collection of a DNA sample as required by 18
U.S.C. § 3142(b).

5. Defendant shall hereafter meet with defendant’s Pretrial Service Officer at the
times and places directed and obey all directions and instructions of the pretrial
services office.

6. Defendant shall next appear at Courtroom 460 of this courthouse on September
3, 2015 at 9:00 a.m.

7. Defendant shall not engage in any undercover or informant activity on behalf of
any government agency, except for a debriefing, without prior written approval
of a district judge of this court.

8. If defendant is charged with a felony, then defendant shall not ship, transport or
receive any firearm or ammunition. See 18 U.S.C. § 922(n). Note that this is not
a prohibition against the continued possession of firearms, which is addressed in
condition number 15, below.

9. This court has a zero-tolerance policy for drug use by criminal defendants released
on conditions. Violation of any condition of release or of any other direction or
instruction given by the Pretrial Service Office relating to drugs or drug use shall
result in return to court for a hearing on the modification or revocation of
conditions of release. To ensure the fair enforcement of this policy, every criminal
defendant released on conditions shall be subjected to at least one random test
for drug use.
x &

Case: 3:15-cr-00054-wmc Document #: 60 Filed: 06/15/15 Page 3 of 7

10.

ll.

12.

13.

14,

15.

16.

17.

18,

19.

Note Well: If defendant has a drug or alcohol use problem, it is defendant's
obligation to advise Pretrial Services now so that appropriate conditions can be
considered and fashioned to address the problem.

Defendant shall surrender defendant’s passport to the clerk of this court. If the
defendant is acquitted or the charges are dismissed, then the clerk shall return the
passport to the defendant. If the defendant is convicted, then the clerk shall send
the passport and a copy of the judgment and conviction order to the U.S. State
Department. Defendant shall not apply for a replacement passport while on
pretrial release or while serving any sentence if convicted.

Defendant shall report in advance to the Pretrial Services Office all changes in
employment, residence, and telephone.

If defendant has any contact with any representative of any law enforcement
agency regarding any criminal or traffic matter, then defendant shall report this
contact to the Pretrial Services Office within 24 hours of the contact.

Additional Conditions

Defendant shall register with local law enforcement agencies as directed by the
Pretrial Services Office.

Defendant shall seek and maintain employment in a manner approved by the
Pretrial Services Office.

Defendant shall not use or possess firearms, destructive devices, or other
dangerous weapons.

Defendant shall /abstain from any / refrain from excessive / use of alcohol.

Defendant shall not associate in any manner with persons who use or possess
drugs, or previously were known to use or possess drugs, and defendant shall
avoid places where drugs are or were known to have been used, possessed or
dispensed.

Defendant shall not use, possess, buy or sell any illicit or narcotic drugs or any
other controlled substance defined in 21 U.S.C. §802, unless prescribed by a
licensed medical practitioner with the knowledge of the Pretrial Services Office.
Defendant shall not use methadone or obtain a prescription for methadone.

Defendant shall submit to urinalysis or other testing as directed by the pretrial
services office to detect drug or alcohol usage.
Case: 3:15-cr-00054-wmc Document #: 60 Filed: 06/15/15 Page 4 of 7

_X 20.

XK 22.

23.

24.

Defendant shall undergo an Alcohol and Other Drug Assessment at the direction
of the Pretrial Services Office and comply with any instructions or directions
given by the Pretrial Services Office as a result of the assessment.

Defendant shall not associate with, speak to, telephone, text, e-mail or have any
contact of any sort with these people:

Christopher Christmas
Karl Kristensen
Andrew Karabon
Ilirian Ameti
Cody Peck
Joseph Connors
Anthony Lyamichev
Alexander Merwald
William Rothschild
Steven Miller

ALL CO-PRFRIDANTY,

If codefendants are listed above, this prohibition does not apply to association

‘that occurs in the presence of the attorneys for all defendants during bona fide

legal defense meetings.

Defendant shall not travel outside the following geographic area except when
traveling directly to this court or to the office of defendant’s attorney for matters
relating directly to this case, or when prior permission has been obtained from the
Pretrial Services Office:

WATERY DITTUT 8) Wis coupa/ < MORTIE) DISTRUC ¥X ILO
o U

 

Defendant shall observe the following curfew:

Remain at this residence:

 

During these times:

 

Exceptions from this curfew must be approved in advance by the Pretrial Services
Office.

Defendant shall submit to electronic and GPS monitoring as directed by the
Pretrial Services Office. Defendant shall / not / pay the cost of monitoring.
Case: 3:15-cr-00054-wmc Document #: 60 Filed: 06/15/15 Page 5 of 7

25.

Signed:

Signed:

26.

27.

28.

29.

Defendant shall be placed in the third-party custody of these people:

 

Custodian’s Promise to the Court

Each undersigned third-party custodian has read these conditions of release,
understands what these conditions require the defendant to do and not to do, and
promises the court that the custodian will:

(1) Supervise the defendant to ensure that the defendant complies
with these conditions of release;

(2) Use every effort to ensure that the defendant appears as required
at court proceedings in this case; and

(3) Immediately notify the pretrial services office, the court, and if
needed, local law enforcement authorities if defendant violates
any release condition or if defendant appears to be planning to
flee or actually flees.

Date:

 

Date:

 

Defendant shall participate in mental health assessment/treatment/counseling as
approved and directed by the Pretrial Services Office. Defendant shall follow all
treatment directives and take any medication prescribed by defendant’s treatment
provider, as approved by the Pretrial Services Office. Defendant shall waive any
patient-provider privilege as to this process so that the Pretrial Services Office
may oversee it properly. Defendant is responsible for obtaining funding for any
required treatment, counseling or medications, with assistance from the Pretrial
Services Office.

Defendant shall notify third parties, including his employer, his client and the
financial institutions with which he conducts business, of the pending federal
charges and shall permit pretrial services to make notifications and to confirm
compliance with this condition.

 

 
Case: 3:15-cr-00054-wmc Document #: 60 Filed: 06/15/15 Page 6 of 7

Notice of Penalties and Sanctions

The defendant’s violation of any of the conditions of release imposed in this order may result in the immediate
issuance of a warrant for the defendant’s arrest, the revocation of release, and an order of detention. It could
also result in a separate prosecution for contempt under 18 U.S.C. § 401, which is punishable by a term of
imprisonment and a fine. See 18 U.S.C. § 3148.

If the defendant commits a crime while released pursuant to this order and is later convicted of that new crime,
then the defendant can also be prosecuted in federal court for having committed a crime while released, which
is a violation of 18 U.S.C. § 3147. If the new offense is a felony, the defendant would face up to ten years in
prison. If the new offense is a misdemeanor, the defendant would face up to one year in prison. Any sentence
imposed for such a violation would be consecutive to any other sentence imposed upon the defendant.

It is a crime for the defendant knowingly to fail to appear as required by these conditions of release, or to fail
to appear for the service of sentence pursuant to a court order. If the defendant was released in connection with
a charge of, or while awaiting sentence, surrender for the service of a sentence, or appeal or certiorari after
conviction for:

1. An offense punishable by death, life imprisonment, or imprisonment for a term
of fifteen years or more, the defendant shall be fined not more than $250,000 or
imprisoned for not more than ten years or both,

2. | Anoffense punishable by imprisonment for a term of five years or more, but less
than fifteen years, the defendant shall be fined not more than $250,000 or
imprisoned for not more than five years, or both;

3. Any other felony, the defendant shall be fined not more than $250,000 or
imprisoned not more than two years, or both;

4. A misdemeanor, the defendant shall be fined not more than $100,000 or
imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be consecutive to a sentence of
imprisonment for any other offense. See 18 U.S.C. § 3146.

It is a federal crime to intimidate, to influence, or to injure jurors or officers of the court or to attempt to do so.
See 18 U.S.C. § 1503.

It is a federal crime to obstruct criminal investigations by bribery, or by disclosing the existence or content of
subpoenas to financial institutions or the insurance industry. See 18 U.S.C. § 1510.

It is a federal crime to intimidate, to harass, to influence, or to injure witnesses, potential witnesses, victims or
informants, or to threaten or attempt to do so. See 18 U.S.C. § 1512.

It is a federal crime to retaliate against a witness, victim or informant, or to threaten or attempt to do so. See
18 U.S.C. § 1513.
Case: 3:15-cr-00054-wmc Document #: 60 Filed: 06/15/15 Page 7 of 7

Acknowledgment and Promise of the Defendant
I acknowledge that I am the defendant in this case.

I am aware of and I understand all of the conditions of release that have been
imposed upon me.

I promise to obey all conditions of release, to appear as directed, and to
surrender for service of any sentence imposed.

I am aware of and I understand the prohibitions and penalties set forth above
in the Notice of Penalties and Sanctions section of this release order.

a Selmi

Aignature of Defendant Date

Directions to the United States Marshal

It is ORDERED that the United States Marshal shall, upon confirming that defendant
Amadou Camara has been released from ICE custody, release defendant Amadou Camara from
this court’s custody in the ordinary course of the marshal’s business.

BY THECOURT:

STEPHEN L. CROCKER Date
Magistrate Judge

 
